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                                            ACKNOWLEDGMENT AND NOTICE OF APPEARANCE

Short Title: United States of America v. Epstein                                        Docket No.: 19-2221

Lead Counsel of Record (name/firm) or Pro se Party (name): Reid Weingarten / Steptoe & Johnson LLP

Appearance for (party/designation): Defendant - Appellant Jeffrey Epstein

                                           DOCKET SSHEET AC
                                           DOC           ACKNOWLEDGMENT/AMENDMENTS
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Contact Information for Lead Counsel/Pro Se Party is:
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( ) Matters related to this appeal or involving the same issue have been or presently are before this Court. The short titles,
docket numbers, and citations are:


                                                            CERTIFICATION

I certify that ( ✔ ) I am admitted to practice in this Court and, if required by LR 46.1(a)(2), have renewed my admission on
                □                        □
                           OR that ( ) I applied for admission on                                       or renewal on
                           . If the Court has not yet admitted me or approved my renewal, I have completed Addendum A.
Signature of Lead Counsel of Record: /s/ Reid Weingarten
Type or Print Name: Reid Weingarten
          OR
Signature of pro se litigant:
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 □
( ) I am a pro se litigant who is not an attorney.
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□
